EXHIBIT M
                            Kimberly Ashmore
                             April 26, 2019

· · · · · · · ·IN THE UNITED STATES DISTRICT COURT

· · · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

· · · · · · · · · · · · SAN DIEGO DIVISION

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· · · · ·- - - - - - - - - - - - - -X

· · · · ·AMERICAN CLAIMS· · · · · · :

· · · · ·MANAGEMENT, INC.,· · · · · :

· · · · · · Plaintiff and,· · · · · : Case No.

· · · · · · Counterclaim-Defendant, : 3:18-cv-00925-JLS-MSB

· · · · ·vs.· · · · · · · · · · · · :

· · · · ·ALLIED WORLD SURPLUS· · · ·:

· · · · ·LINES INSURANCE COMPANY· · :

· · · · ·(f/k/a Darwin Select· · · ·:

· · · · ·Insurance Company),· · · · :

· · · · · · Defendant and· · · · · ·:

· · · · · · Counterclaimant.· · · · :

· · · · ·- - - - - - - - - - - - - -X

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· · · · · · Videotaped Deposition of KIMBERLY ASHMORE

· · · · · · · · · · · · ·Washington, D.C.

· · · · · · · · · · · Friday, April 26, 2019

· · · · · · · · · · · · · · ·9:11 a.m.

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· · · · ·Reported by:· Dana C. Ryan, RPR, CRR


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                            Kimberly Ashmore
                             April 26, 2019

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·6· · · · · · · · · · · · · · · · · · · · 9:11 a.m.

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10· · · · · · ·Videotaped Deposition of KIMBERLY ASHMORE,

11· · · ·held at the law offices of Cooley LLP, 1299

12· · · ·Pennsylvania Avenue, Northwest, Washington, D.C.,

13· · · ·before Dana C. Ryan, Registered Professional

14· · · ·Reporter, Certified Realtime Reporter and Notary

15· · · ·Public in and for the District of Columbia.

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                            Kimberly Ashmore
                             April 26, 2019

·1· · · · · · · · · · ·A P P E A R A N C E S

·2

·3· · · · · · ON BEHALF OF THE PLAINTIFF AND

·4· · · · · · COUNTERCLAIM-DEFENDANT:

·5· · · · · · · · ·DANE R. VORIS, Esquire

·6· · · · · · · · ·Cooley LLP

·7· · · · · · · · ·500 Boylston Street

·8· · · · · · · · ·14th Floor

·9· · · · · · · · ·Boston, Massachusetts 02116

10· · · · · · · · ·Telephone:· (617) 937-2300

11· · · · · · · · ·Email: dvoris@cooley.com

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13· · · · · · · · · · · · · · - and -

14

15· · · · · · · · ·GREG HOFFNAGLE, Esquire

16· · · · · · · · ·RACHEL F. KATZ, Esquire

17· · · · · · · · ·Cooley LLP

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                               April 26, 2019

·1· · · · ·A P P E A R A N C E S· C O N T I N U E D

·2

·3· · · · · · ON BEHALF OF THE DEFENDANT AND

·4· · · · · · COUNTERCLAIMANT:

·5· · · · · · · · ·GUYON H. KNIGHT, Esquire

·6· · · · · · · · ·Quinn Emanuel Urquhart & Sullivan, LLP

·7· · · · · · · · ·51 Madison Avenue

·8· · · · · · · · ·22nd Floor

·9· · · · · · · · ·New York, New York 10010

10· · · · · · · · ·Telephone: (212) 849-7000

11· · · · · · · · ·Email: guyonknight@quinnemanuel.com

12

13

14· · · · · · Also present:

15· · · · · · · · ·Charlie Widner, Videographer

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·1· · · ·this letter?

·2· · · · · · A· · ·I think so.· I may not have been in the

·3· · · ·office and so Rick signed it.· I don't -- I don't

·4· · · ·recall.

·5· · · · · · Q· · ·Okay.· But within this letter, Wiley

·6· · · ·Rein is telling ACM that it needs to take

·7· · · ·necessary steps to preserve any claims against

·8· · · ·Mr. Jampol; correct?

·9· · · · · · A· · ·Yes, it came to our attention that ACM

10· · · ·potentially could have a statue of limitations

11· · · ·problem unless it secured a tolling agreement from

12· · · ·Mr. Jampol.· And, so, this is our letter following

13· · · ·up on a call that we had, it looks like, and an

14· · · ·email that we had sent to Ms. Lawson about ACM

15· · · ·securing a tolling agreement with Mr. Jampol.

16· · · · · · Q· · ·How did it come to your attention that

17· · · ·ACM potentially could have a statute of

18· · · ·limitations problem?

19· · · · · · · · · MR. KNIGHT:· And, again, testify to the

20· · · ·extent you can based on nonprivileged information.

21· · · · · · · · · THE WITNESS:· As I told Ms. Lawson, in

22· · · ·reviewing documents related to the claim, there

23· · · ·was an email, I believe, that directed Mr. Jampol

24· · · ·to stop acting on ACM's behalf dated June 29th,

25· · · ·2015.· And, so, there could be an argument that


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· · · · · · · · · · · · · · · · · · · · · · · · · · ·Page
·1· · · ·the one-year statute of limitation in California

·2· · · ·would have run as of June 29th, 2016.

·3· · · · · · BY MR. VORIS:

·4· · · · · · Q· · ·What kind of claim were you concerned

·5· · · ·about against Mr. Jampol?

·6· · · · · · · · · MR. KNIGHT:· Same objection.

·7· · · · · · · · · Testify based on nonprivileged

·8· · · ·information.

·9· · · · · · · · · THE WITNESS:· Any claim that ACM might

10· · · ·have had with respect to Mr. Jampol's services --

11· · · ·legal services that are provided to ACM in

12· · · ·connection with this matter.

13· · · · · · BY MR. VORIS:

14· · · · · · Q· · ·Did you have any concerns about

15· · · ·specific claims that ACM -- ACM should preserve

16· · · ·against Mr. Jampol?

17· · · · · · · · · MR. KNIGHT:· Again, testify to

18· · · ·nonprivileged information, not to your private,

19· · · ·privileged thoughts.

20· · · · · · · · · THE WITNESS:· Ms. Lawson, during prior

21· · · ·calls, was very clear that ACM had claims arising

22· · · ·out of Mr. Jampol's services.· That was her

23· · · ·opinion.· It had come to my attention that nothing

24· · · ·had been done, and so I was communicating that to

25· · · ·Ms. Lawson and asking her -- or telling her that


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